       Case 1:19-bk-10781-MT Doc 77 Filed 05/06/22 Entered 05/06/22 13:09:49                                         Desc
                            Ntc2/13CloCase w/oDsch Page 1 of 1
FormCACB 101 (AO:12−13closedwodischarge)
(10/05)

                                          United States Bankruptcy Court
                                            Central District of California
                                       21041 Burbank Blvd, Woodland Hills, CA 91367−6603

                             NOTICE OF CHAPTER 12 OR 13 CASE CLOSED
                                       WITHOUT DISCHARGE

   DEBTOR(S) INFORMATION:                                                BANKRUPTCY NO. 1:19−bk−10781−MT
   Daniel Correa                                                         CHAPTER 13
   SSN: xxx−xx−2153
   EIN: N/A
   8101 Etiwanda Avenue
   Reseda, CA 91335



All creditors and parties in interest are notified that the above−captioned case has been closed without entry of discharge for the
reason(s) indicated below.

      Debtor did not file Official Form 423, Certification About a Financial Management Course.


      Debtor did not certify that all domestic support obligations due have been paid.

      Debtor did not file a Debtor's Certification of Compliance under 11 U.S.C. § 1328(a) and Application for Entry of
      Discharge.




                                                                                BY THE COURT,
Dated: May 6, 2022                                                              Kathleen J. Campbell
                                                                                Clerk of Court




(Form VAN−101 clsnodsc) rev. 12/2015                                                                                       77 / TK
